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A0245B        (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1
                                                                                                                EASTERN DISTRICT ARKANSAS

                                          UNITED STATES DISTRICT COURT
                                                         Eastern District of Arkansas                      JAMESW.
              UNITED STATES OF AMERICA
                                                                          )       JUDGMENT IN iY.~:nT'I:-nIIc~~-H09~~ERit7K
                                                                          )
                                  v.                                      )
          SHEILA LANFAIR a/k/a Sheila Landfair                            )
                                                                                  Case Number: 4:10CR00270-11 BSM
                                                                          )
                                                                          )       USM Number: 26145-009
                                                                          )
                                                                          )        James H. Phillips
                                                                                  Defendant's Attorney
THE DEFENDANT:
ij'pleaded guilty to count(s)          1 of the Superseding Information

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature ofOfJense                                                           Offense Ended
 21 USC § 841 (a)(1) and           Possession With Intent to Distribute Methamphetamine, a

 (b)(1)(C)                         Class C Felony                                                            9/8/2009                    1



       The defendant is sentenced as provided in pages 2 through          __6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                                        D are dismissed on the motion of the United States.
               - - - - - - - - - - - - - D is
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economiC circumstances.

                                                                           9/23/2011
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge




                                                                           Brian S. Miller                              US District JUdge
                                                                          Name of Judge                               Title of Judge




                                                                          Date
                                                                                     q-tB-tO/1
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